     Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 1 of 51 PageID# 289



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                     AUG - 1 2Gi3
                              Richmond Division
                                                                CLERK, U.S. DISTRICT COURT
ROSS A. MILLER,                                                       RICHMOND. VA


        Plaintiff,

V.                                         Civil Action No. 3:17-cv-432


DISH NETWORK, L.L.C.,

        Defendant.




                              MEMORANDUM OPINION


        This matter is before the Court on         Defendant Dish Network,

L.L.C.'s MOTION TO DISMISS (EOF No. 20). For the following reasons,

the motion will be granted in part and denied in part.


                                  BACKGROUND


I.      Procedural Context


        In this action under the Fair Credit Reporting Act ("FCRA"),

Plaintiff Ross A. Miller, proceeding pro se, sues Defendant Dish

Network, L.L.C., on grounds related to Dish Network's allegedly

improper acquisition of Miller's credit report.

        Miller initially brought this suit in the General District Court

of Richmond, Virginia on March 13, 2017. On June 9, 2017, Dish Network

removed the case to this Court. After removal. Dish Network moved

to dismiss Miller's Bill of Particulars pursuant to Fed. R. Civ. P.

12(b)(6). By MEMORANDUM ORDER (EOF No. 17) dated March 29, 2018, the

Court required Plaintiff to replead his claims under Fed. R. Civ.
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 2 of 51 PageID# 290



p. 81(c)(2).

      Miller repleaded his claims on April 23, 2018. Dish Network has

now moved to dismiss Miller's First Amended Complaint pursuant to

Fed. R. Civ. P. 12(b)(1) and 12(b)(6).



II.   Relevant Factual Allegations

      On April 4, 2015, Miller obtained his Equifax credit report.

First Am. Compl. *3. He noticed a credit inquiry from Dish Network.

First Am. Compl. *3. He asked that Dish Network remove the inquiry.

First Am. Compl. *3. Dish Network requested detailed information,

which Miller provided. First Am. Compl. *3. On July 7, 2015, Dish

Network   informed   Miller   by   letter   that   its   investigation   was

completed and that it had forwarded the removal request to Equifax

for removal of the inquiry within 45 days. First Am. Compl. *3. On

January 10, 2017, Miller again obtained his Equifax credit report,

and the Dish Network inquiry was still present. First Am. Compl. *3.

Miller then requested that Equifax remove the inquiry and sought to

trigger a reinvestigation by Dish Network and Equifax. First Am.

Compl. *3. Equifax provided a generic response, did not remove the

inquiry, and there was no meaningful reinvestigation. First Am.

Compl. *3. Accordingly, on January 31, 2017, Miller asked that Dish

Network remove the inquiry and pay for FCRA violations. First Am.

Compl. *3. Dish Network provided "a letter with the same empty

verbiage as their previous letter of July 7, 2015." First Am. Compl.
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 3 of 51 PageID# 291



*3. Miller followed up with a letter demanding payment for FCRA

violations. First Am. Compl. *3.

     Miller claims that Dish Network had no permissible purpose for

obtaining his credit report. First Am. Compl. *4. He explains that

he "was simply shopping and comparing rates and plans"; "merely

requested   information    of   Defendant";   and "only    inquired    about

prices, various plans and availability of service." First Am. Compl.

*5. Miller "specifically demanded that Defendant NOT pull his credit

reports" and did not provide written instructions to run his credit

report. First. Am. Compl. *4-5. And, he did not apply for or seek

credit, employment, insurance, government licenses or benefits, or

any services from Dish Network. First Am. Compl. *5, 7. Furthermore,

no government agencies were involved in the pull of the credit report,

and Miller was not under a court order to have his credit report shared

with Dish Network. First Am. Compl. *5. Moreover, Miller never

initiated a business transaction with Dish Network and there has

never been an account between Miller and Dish Network. First Am.

Compl. *4. Miller contends that Dish Network "had absolutely no

reason even to believe it could obtain Plaintiff's credit report"

and "had a specific reason NOT to believe it could or to [sic] obtain

Plaintiff's   credit      report,   because    Plaintiff     clearly    and

unequivocally denied Defendant any permission to obtain his credit

report." First Am. Compl. *4-5.
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 4 of 51 PageID# 292



      Miller states that Dish Network has a "usual practice of

obtaining credit reports of people who inquire about prices and

products."   First   Am.   Compl.   *6.   He   notes   that   Dish   Network

"customarily certifies to the credit reporting agency that it is

requesting a credit report for the purpose of a business transaction,

when in fact Plaintiff did not request DISH services nor initiate

any business transaction from Defendant at all." First Am. Compl.

*7.


      Miller alleges that Dish Network's credit inquiry "lowered his

credit score, incorrectly signals to other creditors that Plaintiff

is seeking credit . . . and misrepresents Plaintiff's true credit

history." First Am. Compl. *7. He asserts that the inquiry was on

Miller's "credit report for nearly a year," and each month served

as "a separate harm to his credit scores and credit history." First

Am. Compl. *8. Miller also maintains that he has expended time and

money writing to credit reporting agencies and to Dish Network;

"spent money on paper, envelopes, ink and postage"; "paid court

filing fees"; and "spent money on parking and gas driving to court."

First Am. Compl. *8-9. Additionally, Miller has suffered increased

blood pressure "over the months this has been going on and other

pre-existing medical conditions have been aggravated, because of the

considerable length of time this matter has spanned." First Am.

Compl. *9. And, he has had a "diabetic flare-up" and needed to take
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 5 of 51 PageID# 293



additional     blood     pressure       medication.     First   Am.   Compl.   *9.

Furthermore, Miller has "suffered numerous negative emotions" due

to Dish Network's "in-actions, misrepresentations, and deception,"

including "aggravation, irritation, loss of happiness and loss of

enjoyment of old age, fear, worry, anger, tumult, frustration,

vexation and emotional distress." First Am. Corapl. *9. Finally,

Miller contends that his privacy has been invaded by Dish Network.

First Am. Compl. *9.^'^


THE STANDARDS GOVERNING MOTIONS TO DISMISS UNDER FED. R. CIV. P.
                               12(b)(1) & 12(b)(6)

       Dish   Network    has    moved   to    dismiss   Miller's   First   Amended


Complaint pursuant to Fed. R. Civ. P. 12(b)(1), on the ground that

Miller does not have standing, and pursuant to Fed. R. Civ. P.

12(b)(6), on the ground that Miller has failed to state a cognizable



^ Miller also alleges that Dish Network illegally deducted money from
his account and refused to refund it. First Am. Compl. *9. He avers
that   this   violated    the    Electronic     Funds   Transfer Act,      but the
violations are time barred. First Am. Compl. *9. He requests that
the Court refer the matter to the proper authorities. First Am. Compl.
*10.


^ In Miller's Opposition, he raises several allegations that do not
appear in the First Amended Complaint. Allegations cannot be raised
by way of a plaintiff's response to a motion to dismiss. See, e.g.,
Neal V. Patrick Henry Cmty. Coll., 4:15-cv-4, 2015 WL 5165278, at
*6 (W.D. Va. Sept. 3, 2015). Accordingly, the Court does not consider
such asserted facts here. Nevertheless, the Court notes that certain
of those allegations suggest that Miller was engaged in more than
just "comparison shopping" in reaching out to Dish Network. See Pl.'s
Opp'n *8-9. The Court does not pass on that issue now, but perhaps
it will be raised at the summary judgment stage.
                                          5
  Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 6 of 51 PageID# 294



legal claim. See Def.'s Br. 1-2.

     The principles governing Fed. R. Civ. P. 12(b)(1) are well

established:


                We have heretofore recognized that a
           defendant   may   challenge    subject   matter
           jurisdiction in one of two ways. First, the
           defendant may contend "that a complaint simply
           fails to allege facts upon which subject matter
           jurisdiction can be based." When a defendant
           makes a facial challenge to subject matter
           jurisdiction, "the plaintiff, in effect, is
           afforded the same procedural protection as he
           would   receive    under   a   Rule    12(b)(6)
           consideration." In that situation, the facts
           alleged in the complaint are taken as true, and
           the motion must be denied if the complaint
           alleges sufficient facts to invoke subject
           matter jurisdiction.

                 In   the   alternative,   the   defendant   can
           contend—as the Government does here—"that the
           jurisdictional allegations of the complaint
           [are] not true." The plaintiff in this latter
           situation    is   afforded   less   procedural
           protection: If the defendant challenges the
           factual     predicate   of   subject    matter
           jurisdiction, "[a] trial court may then go
           beyond the allegations of the complaint and in
           an evidentiary hearing determine if there are
           facts    to    support   the    jurisdictional
           allegations," without converting the motion to
           a summary judgment proceeding.

Kerns v. United States, 585 F.3d 187, 192 (4th Cir. 2009) (citations

omitted)    Challenges to a complaint based on standing are governed

by Fed. R. Civ. P. 12(b)(1). See, e.g, Benham v. City of Charlotte,




^ It is clear that Dish Network is only raising a "facial" challenge,
not an evidentiary challenge. See Def.'s Br. 6-8.
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 7 of 51 PageID# 295



535 F.3d 129, 136 n.5 (4th Cir. 2011); Pagliara v. Fed. Home Loan

Mortq. Corp., 203 F. Supp. 3d 678, 683 (E.D. Va. 2016). "When a

complaint is evaluated at the pleading stage . . . '^general factual

allegations of injury resulting from the defendant's conduct may

suffice, for on         a    motion to dismiss we presume that general

allegations embrace those specific facts that are necessary to

support the claim.'" Hutton v. Nat'l Bd. of Examiners in Optometry,

Inc., 892 F.3d 613, 620 (4th Cir. 2017) (citations omitted).

     Fed.   R.    Civ.      P. 12(b)(6)     motions are evaluated            under the

following standards:

            Federal         Rule   of   Civil      Procedure     8(a)(2)
            requires only "a short and plain statement of
            the claim showing that the pleader is entitled
            to relief." When ruling on a motion to dismiss
            [pursuant to Fed. R. Civ. P. 12(b)(6)], courts
            must accept as true all of the factual
            allegations contained in the complaint and draw
            all   reasonable       inferences       in   favor    of   the
            plaintiff.

                   To       survive     a       motion   to      dismiss,
            Plaintiffs' factual allegations, taken as true,
            must "state a claim to relief that is plausible
            on its face." The plausibility standard is not
            a probability requirement, but "asks for more
            than a sheer possibility that a defendant has
            acted unlawfully." Although it is true that "the
            complaint must contain sufficient facts to
            state a claim that is plausible on its face, it
            nevertheless need only give the defendant fair
            notice of what the claim is and the grounds on
            which it rests." Thus, we have emphasized that
            "a complaint is to be construed liberally so as
            to do substantial justice."

Hall V. DIRECTV, LLC, 846 F.3d 757, 765 (4th Cir. 2017) (citations

                                            7
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 8 of 51 PageID# 296



omitted).

     Under Fed. R. Civ. P. 12(b)(1) and 12(b)(6), courts construe

pro se complaints liberally. See Willner v. Dimon, 849 F.3d 93, 103

(4th Cir. 2017); Kerr v. Marshall Univ. Bd. of Governors, 824 F.3d

62, 72 (4th Cir. 2016). As the Supreme Court has instructed,

document filed pro se is *to be liberally construed,' and *a pro se

complaint, however inartfully pleaded, must be held to less stringent

standards than formal pleadings drafted by lawyers.'" Erickson v.

Pardus, 551 U.S. 89, 94 (2007) (per curiam) (citations omitted).


                                DISCUSSION


I.   Dish Network's Fed. R. Civ. P. 12(b)(1) Motion

     Dish Network's first ground for seeking to dismiss the First

Amended Complaint is that Miller lacks constitutional standing.

Def.'s Br. 6-8. For the reasons set out below. Miller has standing

except as to the claim under the Electronic Funds Transfer Act

("EFTA"), 15 U.S.C. § 1693 et seq.

     A.     Article III Standing

     The Fourth Circuit has explained the basic standards governing

the doctrine of standing as follows:

                Article   III    of   the   U.S.   Constitution
            limits the jurisdiction of federal courts to
            "Cases" and "Controversies." "One element of
            the case-or-controversy requirement is that
            plaintiffs must establish that they have
            standing   to   sue."   To   invoke   federal
            jurisdiction, a plaintiff bears the burden of

                                      8
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 9 of 51 PageID# 297



            establishing the three "irreducible         minimum
            requirements" of Article III standing:

                 (1) an injury-in-fact {i.e., a concrete
            and particularized invasion of a legally
            protected interest}; (2) causation (i.e., a
            fairly traceable connection between the alleged
            injury in fact and the alleged conduct of the
            defendant); and (3) redressability (i.e., it is
            likely and not merely speculative that the
            plaintiff's injury will be remedied by the
            relief plaintiff seeks in bringing suit).

Beck V. McDonald, 848 F.3d 262, 269 (4th Cir. 2017) (citations

omitted).

    The Supreme Court has defined the "injury-in-fact" element as

follows:


                     To establish injury in fact, a plaintiff
            must show that he or she suffered "an invasion
            of   a    legally   protected   interest"   that   is
            "concrete and particularized" and "actual or
            imminent,       not      conjectural      or
            hypothetical." . . .

                 For an injury to be "particularized," it
            "must affect the plaintiff in a personal and
            individual way."

                     Particularization      is   necessary     to
            establish injury in fact, but it is not
            sufficient. An injury in fact must also be
            "concrete." . . .


                     A "concrete" injury must be "de facto";
            that is, it must actually exist. When we have
            used the adjective "concrete," we have meant to
            convey the usual meaning of the term—"real," and
            not "abstract." Concreteness, therefore, is
            quite different from particularization.

                 "Concrete" is not, however, necessarily
            synonymous with "tangible." Although tangible
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 10 of 51 PageID# 298



           injuries are perhaps easier to recognize, we
           have confirmed in many of our previous cases
           that intangible injuries can nevertheless be
           concrete.


                 In determining whether an intangible harm
           constitutes injury in fact, both history and the
           judgment of Congress play important roles.
          Because the doctrine of standing derives from
          the   case-or-controversy    requirement,    and
          because that requirement in turn is grounded in
          historical practice, it is instructive to
          consider whether an alleged intangible harm has
          a close relationship to a harm that has
          traditionally been regarded as providing a
          basis for a lawsuit in English or American
          courts. In addition, because Congress is well
          positioned to identify intangible harms that
          meet minimum Article III requirements, its
          judgment is also instructive and important.
          Thus, we said in Lujan that Congress may
          "elevatte] to the status of legally cognizable
          injuries concrete, de facto injuries that were
          previously inadequate in law." Similarly,
          Justice Kennedy's concurrence in that case
          explained that "Congress has the power to define
          injuries and articulate chains of causation
          that will give rise to a case or controversy
           where none existed before."


                Congress'    role   in   identifying    and
           elevating intangible harms does not mean that
           a   plaintiff   automatically    satisfies   the
           injury-in-fact requirement whenever a statute
           grants a person a statutory right and purports
           to authorize that person to sue to vindicate
           that right. Article III standing requires a
           concrete injury even in the context of a
           statutory violation. For that reason, Robins
           could not, for example, allege a bare procedural
           violation, divorced from any concrete harm, and
           satisfy the injury-in-fact requirement of
           Article III.


Spokeo, Inc. v. Robbins, 136 S. Ct. 1540, 1548-49 (2016) (citations


                                    10
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 11 of 51 PageID# 299



omitted).

     The    "causation"      element    "is   satisfied      where     ^a   causal


connection between the injury and the conduct complained of . . . is

'fairly traceable,' and not 'the result of the independent action

of some third party not before the court.''" Cooksey v. Futrell, 721

F.3d 226, 238 (4th Cir. 2013) (citations omitted). The "standard is

not equivalent to a requirement of tort causation." Hutton, 892 F.3d

at 623 (citations omitted).

     In explaining the "redressability" element, the Fourth Circuit

has held that "[a]n injury is redressable if it is 'likely, as opposed

to merely speculative, that the injury will be redressed by a

favorable decision.'" Doe v. Va. Dep't of State Police, 713 F.3d 745,

755 (4th Cir. 2013) (citations omitted).

     Finally, "[t]he Supreme Court has also cautioned that the

'absence of a valid . . . cause of action' does not implicate the

court's 'power to adjudicate the case.'" Beyond Sys., Inc. v. Kraft

Foods, Inc., 777 F.3d 712, 716 (4th Cir. 2015) (citations omitted).

It is thus important to "take care not to conflate a standing inquiry

with a merits inquiry." See id.; see also Covenant Media of SC, LLC

V. City of North Charleston, 493 F.3d 421, 428-29 (4th Cir. 2007).

     B.     Dish Network's Argiuaents & Analysis

     Dish    Network's     standing    argument   can   be   distilled to     the

following:    (1)   most    of   the   damages    Miller     alleges   "are   not


                                       11
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 12 of 51 PageID# 300



recoverable under the FCRA"; and (2) "those that are lack any causal

connection with Defendant's alleged violation." See Def.'s Br. 6.

        Dish Network's first argument fails, as an initial matter,

because "the     ^absence of a valid . . . cause of action' does not


implicate the court's 'power to adjudicate the case.'" Beyond Sys.,

777 F.3d at 716 (citations omitted). Dish Network "conflates two

separate issues: (1) the merits, whether [Miller] has sufficiently

stated a claim; and (2) jurisdiction, whether the court has the power

to reach the merits of [Miller's] claim." See Green v. RentGrow, Inc.,

2:16-cv-421, 2016 WL 7018564, at *7 (E.D. Va. Nov. 10, 2016), adopted,

2016 WL 7031287, at *1 (E.D. Va. Nov. 30, 2016).

        Wholly apart from whether Miller's alleged damages are actually

recoverable under the FCRA, it is clear that these damages are

sufficient to provide Article III standing. Miller has alleged, inter

alia, that Dish Network obtained Miller's credit report in violation

of the FCRA, which reduced his credit score, and Miller had to spend

time and money writing letters to credit reporting agencies and to

Dish Network to attempt to remove the improper inquiry. See First

Am. Compl. *3-4, 7-9. It is clear that a reduction in credit score

constitutes an injury in fact, and numerous courts have taken that

view.    See,   e.g.,   Crabtree   v.   Experian   Info.   Solutions,   Inc.,

16-CV-10706, 2018 WL 1872112, at *4 (N.D. 111. Apr. 17, 2018), appeal

docketed. No. 18-2191 (7th Cir. May 29, 2018); Boone v. T-Mobile USA


                                        12
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 13 of 51 PageID# 301



Inc., 17-378, 2018 WL 588927, at *8 (D.N.J. Jan. 29, 2018); Duraj

V. PNC Bank, N.A., l:17-cv-775, 2017 WL 5508380, at *2 (N.D. Ohio

Nov. 15, 2017); Hickman v. Pa. Higher Educ. Assistance, l:17-cv-388,

2017 WL 8186732, at *4 (N.D. Ga. Sept. 27, 2017) (citing Pedro v.

Equifax, Inc., 868 F.3d 1275, 1280 (11th Cir. 2017)), adopted, 2017

WL 8219146, at*l (N.D. Ga. Oct. 30, 2017); Kruckow v. Merchants Bank,

16-2418, 2017 WL 3084391, *3 n.4 (D. Minn. July 19, 2017); Ruk v.

Crown Asset Mqmt., LLC, 1:16-CV-3444, 2017 WL 3085282, at *6 (N.D.

Ga. Mar. 22, 2017), adopted, 2017 WL 3085686, at *3-4, 8 (N.D. Ga.

June 8, 2017); Bultemeyer v. CenturyLink, Inc., 14-02530, 2017 WL

634516, at *2 (D. Ariz. Feb. 15, 2017), appeal docketed. No. 17-15858

(9th Cir. Apr. 27, 2017); Adams v. Fifth Third Bank, 3:16-cv-218,

2017 WL 561336, at *3-4 (W.D. Ky. Feb. 10, 2017); Green, 2016 WL

7018564, at *7-8."




" The Court has found only two cases directly holding to the contrary.
See Del Llano v. Vivint Solar Inc., 17-CV-1429, 2018 WL 656094, at
*6-7 (S.D. Cal. Feb. 1, 2018); Nayab v. Capital One Bank, N.A.,
3:16-cv-3111, 2017 WL 2721982, at *2 (S.D. Cal. June 23, 2017), appeal
docketed. No. 17-55944 (9th Cir. July 3, 2017).

     In   Del Llano, the    court observed that there is ^*no clear
consensus on whether the bare allegation that a plaintiff's credit
score has dropped can satisfy the injury in fact requirement for
Article III standing." Del Llano, 2018 WL 656094, at *7. To support
the view that some courts have held that a credit score reduction
is insufficient, the court cited Diedrich v. Ocwen Loan Servicing,
LLC, 839 F.3d 583, 591 (7th Cir. 2016). See Del Llano, 2018 WL 656094,
at *7. It then held (without citation) that "the Court is more
persuaded by the Seventh Circuit as well as holdings from this
district that have concluded that the drop in Plaintiff's credit
                                    13
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 14 of 51 PageID# 302



     Indeed, the Fourth Circuit recently suggested, strongly, that

a reduced credit score (and out of pocket costs to correct it) would

suffice to establish an injury in fact. In Hutton, the Fourth Circuit

held, in a case alleging several state law causes of action, that

the plaintiffs had suffered a non-speculative injury in fact where

a data breach allowed "fraudsters [to] use[]-and attempt[] to use-the

Plaintiffs' personal information to open Chase Amazon Visa credit

card accounts without their knowledge or approval." See Hutton, 892

F.3d at 616, 622. The Court of Appeals went on to state:

                By way of example, the Hutton Complaint
           specifies that Hutton received an unsolicited
           Chase Amazon Visa credit card that was applied
           for using her social security number and her


score is not an articulated concrete harm." Id.


     Diedrich, however, in no way concluded that a credit score
reduction alone would be insufficient for standing. Rather, it
stated: "[i]n this case, however, the plaintiffs have alleged that
they have suffered damage to their credit and been forced to pay Ocwen
greater payments and a higher interest rate. These are allegations
of concrete injuries and as such are sufficient to allege standing
under Twombly, Iqbal, and Spokeo." Diedrich, 839 F.3d at 591
(emphasis added). In actuality, therefore, Diedrich suggested that
damaged credit might, alone, confer standing.

     In Nayab, the court offered minimal analysis of the credit score
issue. It simply observed that the complaint did not "allege that
Nayab has been denied credit as a result of a lowering of her credit
score" and that "[tjhis conjectural and hypothetical future injury
does not satisfy the requirements for Article III standing." Nayab,
2017 WL 2721982, at *2. The decision in no way engaged with the growing
judicial consensus supporting the opposite conclusion.

     Consequently, the court does not find these decisions
persuasive or reflective of the prevailing judicial view on the
credit score issue.
                                    14
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 15 of 51 PageID# 303



            maiden name . . . . Around the same time,
            Kaeochinda learned that someone had applied for
            a Chase credit card using her social security
            number and former married name. Mizrahi also
            actually received an alert that her credit score
            had decreased eleven points due to a credit
            application that was fraudulently filed with
            Chase, using her address, social security
            number, and mother^s maiden name. She had to
            spend time and resources to repair her credit.
            The Plaintiffs do not allege that they suffered
            fraudulent charges on their unsolicited Chase
            Amazon Visa credit cards, but the Supreme Court
            long ago made clear that "[i]n interpreting
            injury in fact . . . standing [is] not confined
            to those who [can] show economic harm."

Id. at 622 (emphasis added) (citations omitted).

       In short, the Fourth Circuit determined that a data breach

resulting in actual identity theft constitutes an injury in fact,

and that it especially does so where it reduces a party^ s credit score

and requires that party to spend time and resources to repair her

credit■   In so holding,        moreover,    the    Fourth Circuit    necessarily

rejected the district court's view "that the Plaintiffs had failed

to    sufficiently     allege    that   they       suffered   an   injury-in-fact

because .   .   .   the Plaintiffs had incurred no fraudulent charges'

and   'had not been denied credit or been required to pay a higher

interest rate for credit they received.'" See Hutton,                 892 F.3d at

619 (emphasis added)      (citations omitted) . Thus, the Fourth Circuit

took the view that a reduction in credit score (without a resulting

denial of credit or higher interest rate) could serve as an injury

in fact, and the Court can discern no reason why that view would not

                                        15
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 16 of 51 PageID# 304



apply in the FCRA context. Indeed, the Court of Appeals in Hutton

did not distinguish, in its standing analysis, among the several

causes of action raised. See id. at 616.^

       Dish Network's first argument also fails because Miller alleges

that Dish Network's actions resulted in "aggravation, irritation,

loss of happiness and loss of enjoyment of old age, fear, worry,

anger, tumult, frustration, vexation and emotional distress." First

Am. Compl. *9. Emotional distress has been found to constitute an

injury in fact under the FCRA. See Adan v. Insight Investigation,

Inc., 16-CV-2807, 2018 WL 467897, at *6 (S.D. Cal. Jan. 18, 2018);

Lovess V. Embrace Home Loans, Inc., 17-2212, 2017 WL 4745452, at *2

(D. Md. Oct. 20, 2017); Ricketson v. Experian Info. Solutions, Inc.,

266 F. Supp. 3d 1083, 1090-91 (W.D. Mich. 2017). And, the Fourth

Circuit has determined (in unpublished decisions) that emotional

damages can support an injury in fact under the Fair Debt Collection

Practices Act ("FDCPA"), using generalized reasoning applicable to

other contexts. See Moore v. Blibaum & Assocs., P.A., 693 F. App'x

205, 206 (4th Cir. 2017) (per curiam) ("This was not a case where




^ Dish Network claims that out of pocket expenses incurred to notify
a credit reporting agency of an error (in contrast to those expended
to enforce compliance with a particular provision of the FCRA) are
not compensable as actual damages. Def.'s Br. 7. That may well be
true, but, as suggested by Hutton, out of pocket expenses can serve
as a sufficient injury to confer standing, at least "when a
substantial risk of harm actually exists." See Hutton, 892 F.3d at
622.
                                    16
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 17 of 51 PageID# 305



the plaintiff simply alleged ^a bare procedural violation [of the

FDCPA], divorced from any concrete harm.' Indeed, Moore alleged in

her complaint that as a consequence of B & A's alleged violations

of the FDCPA's proscribed practices, she 'suffered and continues to

suffer' from 'emotional distress, anger, and frustration.' Moore

therefore    established   the   existence   of   an   injury   in   fact[.]"

(citations omitted)); Ben-Davies v. Blibaum & Assocs., P.A., 695 F.

App'x 674, 676-77 (4th Cir. 2017) (per curiam) (similar). This Court

has reached the same conclusion in the FDCPA context, lilcewise

employing a generally applicable characterization. See Brown v. R

& B Corp. of Va., 267 F. Supp. 3d 691, 697 (E.D. Va. 2017) ("When

a plaintiff alleges an actual intangible injury such as emotional

distress, a plaintiff has sufficiently alleged a concrete intangible

injury."). Furthermore, emotional distress is cognizable as actual

damages under the FCRA. See Robinson v. Equifax Info. Servs., LLC,

560 F.3d 235, 239 (4th Cir. 2009); see also Alston v. Freedom

Plus/Cross River, 17-0033, 2018 WL 770384, at *6 (D. Md. Feb. 7,

2018). ®    Thus, at minimum, emotional distress is a                concrete,




® Dish Network argues that courts only allow emotional distress
damages under the FCRA where the plaintiff has shown that his credit
information was shared with a third party. See Def.'s Br. 6. Nothing
in case law within the Fourth Circuit suggests that to be true. See,
e.g.. Freedom Plus/Cross River, 2018 WL 770384, at *4-7; see also
Burke v. Experian Info. Solutions, Inc., 1:lO-cv-1064, 2011                WL
1085874, at *1-3, 8 (E.D. Va. Mar. 18, 2011).

                                    17
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 18 of 51 PageID# 306



intangible injury that Congress has identified as "meetting] minimum

Article III requirements." See Spokeo, 136 3. Ct. at 1543.^

     In sum. Miller has alleged damages that are sufficient to

establish an injury in fact, and Dish Network's assertion that those

damages are not cognizable in no way defeats that conclusion.®

     Dish Network's second argument, i.e., that Miller's claimed

damages do not satisfy the "causation" element of standing, also

fails. Miller directly asserts that "Defendant's credit inquiry on

Plaintiff's credit report lowered his credit score." First Am. Compl.

*7. And, Miller claims that his emotional harms were the "result of

Defendant's     actions,     in-actions,     misrepresentations,       and

deception." First Am. Compl. *9. Construing Miller's First Amended

Complaint liberally, it is fairly inferable that those harms stemmed

from Dish Network's alleged violations of the FCRA. In short, it is



' The interpretation of "actual damages" under the FCRA as including
emotional harm is longstanding. See Sloane v. Equifax Info. Servs.,
LLC, 510 F.3d 495, 500 (4th Cir. 2007) (citing cases supporting this
interpretation dating back to 1974). In Section 312(f) of the Fair
and Accurate Credit Transactions Act of 2003, which amended the FCRA,
Congress expressly stated that "[njothing in this section, the
amendments made by this section, or any other provision of this Act
shall be construed to affect any liability under section 616 or 617
of the Fair Credit Reporting Act (15 U.S.C. 1681n, I68I0) that existed
on the day before the date of enactment of this Act." Fair and Accurate
Credit Transactions Act of 2003, Pub. L. No. 108-159, § 312(f), 117
Stat. 1952, 1993 (2003). It seems clear that Congress has adopted
the prevailing interpretation of "actual damages."

® There can be no argument that the harms alleged here are not
"particularized," as Miller clearly claims that his credit score was
lowered and that ^ experienced emotional distress.
                                    18
     Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 19 of 51 PageID# 307



 impossible to           conclude that there is       not "a      fairly traceable

 connection between the alleged injury in fact and the alleged conduct

 of the defendant." See Beck, 848 F.3d at 269 (citations omitted);

 see also Cooksey, 721 F.3d at 238.^'^° Hence, the Court will deny Dish

 Network's motion to dismiss on standing grounds as to Miller's FCRA

 claims.


         C.     Electronic Funds Transfer Act Violations


         Miller asks the Court to refer Dish Network to the proper

 authorities for its alleged violations of the EFTA. First Am. Compl.

 *9-10. Miller has no standing to seek that relief, however, because

 a    favorable      decree    would    not     redress    his   injuries    without

 (speculative) third-party intervention. See Doe, 713 F.3d at 755-57.

 Although Dish Network only touches on this issue in passing, see

 Def.'s       Br.   1,    "[w]hen   a   requirement       goes   to   subject-matter

 jurisdiction, courts are obligated to consider sua sponte issues that

 the parties have disclaimed or have not presented," United States

 V. Wilson, 699 F.3d 789, 793 (4th Cir. 2012) (citations omitted).



'There is no assertion, nor could there be any assertion, that a
 favorable decree of damages, costs, and fees (the main relief Miller
 seeks) could not remedy Miller's injuries. See First Am. Compl. *10.

   Dish Network cites Dilday v. Directv, LLC, 3:16-cv-996, 2017 WL
 1190916 (E.D. Va. Mar. 29, 2017), to support its overall argument
 that Miller has failed to show standing. Def.'s Br. 8. In that case,
 however, "the Complaint [was] devoid of any reference to Plaintiff
 suffering any harm as a result of these violations or his
 susceptibility to the risk of real harm in the future." Dilday, 2017
 WL 1190916, at *3. That is not the case here, so Dilday is inapposite.
                                           19
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 20 of 51 PageID# 308



Consequently, the Court will grant Dish Network's motion to dismiss

as to Miller's requested relief for violations of the EFTA.


II.   Dish Network's Fed, R. Civ. P. 12(b)(6) Motion

      Dish Network's alternative ground for seeking to dismiss the

First Amended Complaint is that Miller fails to state a claim under

15 U.S.C. §§ 1681b(f) and 1681n(b). Def.'s Br. 8-12. The Court

disagrees with Dish Network's arguments as to 15 U.S.C, § 1681b(f)

but will dismiss any claims under 15 U.S.C. § 1681n{b).

      A.   The 15 U.S.C. § 1681b(£) Claim

           1.    The Basic Framework


      15 U.S.C. § 1681b(f) states the following:

                A person shall not use or obtain a consumer
           report for any purpose unless—

                (1) the consumer report is obtained for a
           purpose for which the consumer report is
           authorized to be furnished under this section;
           and


                (2) the purpose is certified in accordance
           with  section   1681e   of this title      by a
           prospective user of the report through a general
           or specific certification.

15 U.S.C. § 1681b(f).

      The "purpose[s] for which [a] consumer report is authorized to

be furnished" are set forth at 15 U.S.C. § 1681b(a), which provides,

in relevant part:

                Subject to subsection (c), any consumer
           reporting agency may furnish a consumer report

                                    20
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 21 of 51 PageID# 309



             under the following circumstances and no other;



                  (3) To a person which it has reason to
             believe—


                  (A) intends to use the information in
             connection with a credit transaction involving
             the consumer on whom the information is to be
             furnished and involving the extension of credit
             to, or review or collection of an account of,
             the consumer; or




                  (F) otherwise has a legitimate business
             need for the information—


                  (i)  in  connection   with  a       business
             transaction  that   is   initiated       by   the
             consumer . . . .



15 U.S.C. § 1681b(a)




11
     The full provision reads

     Subject to subsection (c), any consumer reporting agency may
furnish a consumer report under the following circumstances and no
other:


(1) In response to the order of a court having jurisdiction to issue
such an order, or a subpoena issued in connection with proceedings
before a Federal grand jury.

(2)    In accordance with the written instructions of the consumer to
whom it relates.


(3)    To a person which it has reason to believe—

       (A)   intends to use the information in connection with a credit
       transaction involving the consumer on whom the information is
       to be furnished and involving the extension of credit to, or
       review or collection of an account of, the consumer; or
                                    21
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 22 of 51 PageID# 310




     (B)   intends to use the information for employment purposes;
     or



     (C) intends to use the information in connection with the
     underwriting of insurance involving the consumer; or

     (D)   intends   to   use   the   information      in    connection    with    a
     determination of the consumer's eligibility for a license or
     other benefit granted by a governmental instrumentality
     required by law to consider an applicant's financial
     responsibility or status; or

     (E)   intends to use the information, as a potential investor
     or servicer, or current insurer, in connection with a valuation
     of, or an assessment of the credit or prepayment                           risks
     associated with, an existing credit obligation; or

     (F)   otherwise      has   a    legitimate      business    need     for    the
     information—


           (i) in connection with a business transaction that is
           initiated by the consumer; or

           (ii) to   review     an    account   to    determine    whether       the
           consumer continues to meet the terms of the account.


     (G) executive departments and agencies in connection with the
     issuance of government-sponsored individually-billed travel
     charge cards.

(4) In response to a request by the head of a State or local child
support enforcement agency (or a State or local government official
authorized by the head of such an agency), if the person making the
request certifies to the consumer reporting agency that—

     (A) the consumer report is needed for the purpose of
     establishing an individual's capacity to make child support
     payments, determining the appropriate level of such payments,
     or enforcing a child support order, award, agreement, or
     judgment;

     (B) the parentage of the consumer for the child to which the
     obligation relates has been established or acknowledged by the
     consumer   in   accordance       with   State    laws    under     which    the
                                       22
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 23 of 51 PageID# 311



      In assessing claims under this statutory framework, courts have

consistently held that the elements of a claim under 15 U.S.C. §

1681b(f) include the following: "'(1) there was a consumer report;

(2) obtained or used by the defendant; (3) without a permissible

purpose as defined in § 1681b(a)(l)-{6); and (4) the defendant acted

with the specified mental state." See Freedom Plus/Cross River, 2018

WL 770384, at *4; see also Wyche v. Kuchinsky, 3:16-cv-114, 2017 WL

2222376, at *7 (E.D. Va. May 19, 2017); Cole v. Capital One, 15-1121,

2016 WL 2621950, at *4 (D. Md. May 5, 2016); Glanton v. DirecTV, LLC,

172 F. Supp. 3d 890, 894 (D.S.C. 2016).




      obligation arises (if required by those laws); and

      (C) the consumer report will be kept confidential, will be used
      solely for a purpose described in subparagraph (A), and will
      not be used in connection with any other civil, administrative,
      or criminal proceeding, or for any other purpose.

      (D)   Redesignated (C)

(5)   To an agency administering a State plan under section 654 of
Title 42 for use to set an initial or modified child support award.

(6)   To the Federal Deposit Insurance Corporation or the National
Credit Union Administration as part of its preparation for its
appointment or as part of its exercise of powers, as conservator,
receiver, or liquidating agent for an insured depository institution
or insured credit union under    the Federal Deposit Insurance Act or
the Federal Credit Union Act,    or other applicable Federal or State
law, or in connection with the   resolution or liquidation of a failed
or failing insured depository    institution or insured credit union,
as applicable.
                                    23
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 24 of 51 PageID# 312



           2.   Dish Network's Arguments & Analysis

     The core question is whether Miller has alleged that Dish

Network had no permissible purpose to obtain his credit report. Dish

Network bases its entire Fed. R. Civ. P. 12(b)(6) motion as to the

15 U.S.C. § 1681b(f) claim on that issue. See Def.'s Br. 8-11.

                i.    The Reason to Believe Standard


     Dish Network first argues that a user of a credit report need

only have a "reasonable belief" that it had a permissible purpose

for obtaining it. Def.'s Br. 9-10; Def.'s Reply Br. 3. The Court

concurs (as to permissible purposes under 15 U.S.C. § 1681b(a)(3)).

     It is true that, as Miller contends, 15 U.S.C. § 1681b(a)(3)

refers to the reasonable belief of the credit reporting agency, not

the user of the credit report. See 15 U.S.C. § 1681b(a)(3); Pl.'s

Opp'n *2, 6-7. However, courts within the Fourth Circuit have

consistently applied the "reason to believe" standard to users of

credit reports as well. See, e.g., Glanton, 172 F. Supp. 3d at 895-96;

Danehy v. Jaffe & Asher, LLP, 5:14-cv-60, 2015 WL 1249879, at *5

(E.D.N.C. Mar. 17, 2015); Frazier v. RJM Acquisitions LLC, 14-0047,

2015 WL 795078, at *3 (D. Md. Feb. 24, 2015); Howard v. GE Money,

l:12-cv-895, 2014 WL 6810764, at *6 (M.D.N.C. Dec. 2, 2014); Bracken

V. Fannie Mae Consumer Res. Ctr. Inc., 6:13-1983, 2014 WL 5527837,

at *7 (D.S.C. Oct. 31, 2014); Alston v. Cent. Credit Servs., Inc.,

12-2711, 2013 WL 4543364, at *2-3 (D. Md. Aug. 26, 2013); Boston v.


                                    24
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 25 of 51 PageID# 313



Diverse Funding Assocs., LLC, 3:12-cv-681, 2013 WL 12146517, at *2

(W.D.N.C. Apr. 26, 2013), aff'd, 539 F. App'x 292, 292 {4th Cir. 2013)

(per curiam); Korotki v. Attorney Servs. Corp., Inc., 931 F. Supp.

1269, 1276 (D. Md. 1996), aff^d sub nom. Korotlci v. Thomas, Ronald

& Cooper, P.A., 131 F.3d 135, 1997 WL 753322, at *2-3 {4th Cir. 1997)

{per curiam) (table). Courts outside the Fourth Circuit have done

so as well. See, e.g., Foote v. Continental Serv. Grp., 6:18-cv-73,

2018 WL 3008880, at *2 (M. D. Fla. June 16, 2018); Kruckow v. Merchants

Bank, 16-2418, 2017 WL 5990125, at *2 (D. Minn. Dec. 1, 2017); Bentley

V. Tri-State of Branford, LLC, 3:14-cv-1157, 2016 WL 2626805, at *2

(D.   Conn.    May    6,   2016);   Marcuis   v.   RJM   Acquisitions,   LLC,

1:14-CV-2967, 2015 WL 12681657, at *5 (N.D. Ga. Oct. 23, 2015),

adopted, 2015 WL 12696104, at *1 (N.D. Ga. Nov. 13, 2015); James v.

Interstate Credit & Collection, Inc., 03-cv-1037, 2005 WL 1806501,

at *3-5 (E.D. Pa. July 29, 2005).

      Furthermore, although the Fourth Circuit has not ruled on the

issue by published opinion, it has strongly indicated by unpublished

disposition that it would hold in line with the prevailing view:

                   Title 15, United States Code, Section
              1681(b) permits a consumer reporting agency to
              furnish  a report without the consumer's
              authorization:


                     (3) to a person which it has reason to
              believe


                     (A) intends to use the information with a
              credit transaction involving the consumer on

                                       25
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 26 of 51 PageID# 314



           whom the information     is to be furnished and
           involving . . . collection of an account of,
           the consumer; or . , .

                (E) otherwise has a legitimate business
           need for the information in connection with a
           business transaction involving the consumer.

                While this language might arguably apply-
           only to consumer agencies, we conclude that the
           wording is equally applicable to a user.

Korotki, 1997 WL 753322, at *2 (emphasis added). In that case,

moreover, the Fourth Circuit, in determining that a permissible

purpose existed, found that the plaintiff had admitted certain facts,

which "[o]bviously      . . created a business relationship between

the parties, and [the defendants' client] correctly believed this

to be true[.]" Id. (emphasis added). And, the Fourth Circuit's

decision affirmed the district court's view that, "so long as a user

has reason to believe that a permissible purpose exists, that user

may obtain a consumer report without violating the FCRA." See id.

at *3 ("For the foregoing reasons and the reasons set forth by the

court below, the district court's judgment is AFFIRMED." (emphasis

added)); Korotki, 931 F. Supp. at 1276.^^



  Note that this passage reflects language from a previous version
of the FCRA. That does not affect the analysis here.

  The Court is mindful of Cappetta v. GC Services Ltd., 654 F. Supp.
2d 453 (E.D. Va. 2009), in which a court in this district observed
that the Fourth Circuit in Korotki did "not expressly adopt the
district court's language in Korotki 1 to state that a user may obtain
a consumer report where it has reason to believe a permissible purpose
                                    26
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 27 of 51 PageID# 315



       The Court respects the clear            weight of authority and the

guidance of the Fourth Circuit on this issue. Accordingly, the Court

concludes that a user of a consumer report has a permissible purpose

under 15 U.S.C. § 1681b(a)(3) if that user has a "reason to believe"

that it has a permissible purpose.

       However, it is important to note that the "reason to believe"

standard does not save a defendant from ambiguity in the law (e.g.,

what conduct legally constitutes a "credit transaction involving the

consumer" or a "business transaction that is initiated                    by the

consumer").      See   15   U.S.C. § 1681b(a)(3).       Rather,   the    standard

operates to provide a defendant with a legally permissible purpose

where the facts would reasonably lead it to believe that it had such

a purpose (e.g., that the plaintiff owed a debt to the defendant).

See, e.g., Glanton, 172 F. Supp. 3d at 896 ("Courts have reached the

conclusion that there is no violation of Section 1681b when a creditor

obtains a credit report due to an imposter's application for credit

even    though    the       identity   theft   victim    did   not      make   the

application."); Danehy, 2015 WL 1249879, at *6 ("Plaintiff has failed

to allege any facts from which the court may conclude defendant J

& A did not have reason to believe they were collecting on a delinquent


therein enumerated exists" and "did not need to reach that specific
question to affirm summary judgment." Id. at 460. However, the Court
takes the view that the Fourth Circuit's language was sufficient to
show that it was adopting the district court's "reason to believe"
standard, and it finds Cappetta to be unpersuasive to the extent that
it holds to the contrary.
                                        27
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 28 of 51 PageID# 316



account on behalf of American Express."); Frazier, 2015 WL 795078,

at *3 ("The email and the declaration show that the Defendant had

reason to believe a debt existed, even if the Plaintiff is correct

that the debt did not exist[.]"); Bracken, 2014 WL 5527837, at *7

("Under Section 1681b, all that is required is that Fannie Mae had

'reason to believe' that it had a permissible purpose to access

Bracken's credit report, not that it was the actual owner of the

account."); Cent. Credit Servs., 2013 WL 4543364, at *3 ("Here, CCS

has   produced   evidence   of   a   permissible   purpose   in   accessing

Plaintiff's credit report—to collect a debt that it had 'reason to

believe' Plaintiff owed to RBS."); Korotki, 931 F. Supp. at 1277

("[T]his Court concludes that the agreement between the two parties,

to which plaintiff admits, gave Angelozzi reason to believe that

Korotki and/or APK Development owed Angelozzi a debt."); see also

Korotki, 1997 WL 753322, at *2 ("Obviously, these admitted facts

created a business relationship between the parties, and Angelozzi

correctly believed this to be true.").

                 ii.   Whether Dish Network Had a Permissible Purpose
                       to Access Miller's Credit Report

      Dish Network next argues that Miller fails to allege that Dish

Network lacked a reason to believe that it had a permissible purpose

to acquire his consumer report and, in fact, that his allegations

show that Dish Network "did have a reasonable belief that it had a


permissible purpose." Def.'s Br. 10. Specifically, Dish Network

                                     28
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 29 of 51 PageID# 317



maintains that Miller "affirmatively states that he contacted

Defendant    and   inquired    about    prices,   features,   and   product

availability" and that Miller claimed that Dish Network "certified

to Equifax that it had a permissible purpose to access Plaintiff's

credit report." Def.'s Br. 10. These allegations. Dish Network

argues, show that that it "had reason to believe that the information

obtained would be used ^in connection with a credit transaction' with

and   'the   extension   of   credit   to'   [Miller]." Def.'s   Br.   10-11

(citations omitted).^" Those contentions are unpersuasive.

                         a.   The Relevant Permissible Purposes

      As an initial matter. Miller's allegations, taken as true and

construed liberally, show that Dish Network cannot rely on several

"permissible purposes" enumerated by 15 U.S.C. § 1681b(a). Miller

avers that: (1) he was not under a court order to have his credit

report pulled; (2) he did not furnish written instructions to obtain

his credit report (and, in fact, denied consent to Dish Network

obtaining his report); (3) he did not seek employment with Dish

Network; (4) he did not apply for credit from Dish Network; (5) he

did not apply for insurance from Dish Network; (6) he did not apply




   Dish Network also suggests that users of credit reports do not need
"permission" to obtain them, that it is insufficient for a plaintiff
to allege that he never sought to acquire services from the defendant,
and that a plaintiff does not need to have direct dealings with a
defendant for it to obtain a credit report lawfully. Def.'s Br. 9-10;
see also Def.'s Reply Br. 3.
                                       29
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 30 of 51 PageID# 318



for any government licenses or benefits from           Dish    Network and

government agencies were not involved; (7) there has never been an

account between the parties; (8) Miller did not apply for services

from Dish Network; and (9) Miller "'merely requested information of

Defendant,"   "only   inquired    about   prices,    various    plans   and

availability of service," and "was simply shopping and comparing

rates and plans." First Am. Compl. *4-5, 7. Those allegations

eliminate all of the "permissible purposes" except for those under

15   U.S.C.    §§     1681b(a)(3)(A)      (credit    transactions)      and

1681b(a)(3)(F)(i)     (business    transactions     initiated     by    the

consumer). That is true even for those other permissible purposes

that permit a "reason to believe" exception (i.e., those under 15

U.S.C. § 1681b(a)(3)).

     Accordingly, the Court will focus on whether Miller has alleged

the lack of a permissible purpose under 15 U.S.C. §§ 1681b (a)(3)(A)

and 1681b(a)(3)(F)(i). To those purposes we now turn.

                       b.   15 U.S.C. § 1681b(a)(3)(A)

     As set out above. Miller claims that there has never been any

account between him and Dish Network; that he never applied for credit

or services; and that he simply requested information about products

and plans. First Am. Compl, *4-5. And, Miller alleges that Dish

Network has a "usual practice of obtaining credit reports of people

who inquire about prices and products." First Am. Compl. *6. In


                                    30
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 31 of 51 PageID# 319



essence, Miller contends that his only interaction with Dish Network

was to engage in ^'comparison shopping" behavior, such as asking basic

service-related questions, and that Dish Network pulled his credit

report {in line with its standard practice) anyway. The question,

then, is whether Miller's interactions with Dish Network (as he

alleged them) fall within 15 U.S.C. § 1681b(a)(3)(A).

      That section establishes a permissible purpose where a user "has

reason   to   believe" that   it "intends   to    use   the   information   in


connection with a credit transaction involving the consumer on whom

the information is to be furnished and involving the extension of

credit to, or review or collection of an account of, the consumer."

See 15 U.S.C. § 1681b(a)(3)(A). As a threshold matter, it is clear

that Dish Network could not have had a reasonable belief that it


intended to use the credit report for "review or collection of an

account of" Miller because Miller has alleged that there was never

an account between the parties. Hence, all that remains is the issue

of whether Dish Network had a reason to believe that it intended "to


use the information in connection with a credit transaction involving

the   consumer . . .    and    involving    the    extension      of   credit

to . . . the consumer." See id.


      Decisions that have addressed the issue teach that a permissible

purpose under 15 U.S.C. § 1681b(a)(3)(A) cannot, as a matter of law,

be established where the defendant obtained a credit report in


                                    31
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 32 of 51 PageID# 320



response to mere comparison shopping behavior. See Boone, 2018 WL

588927, at *15-16; Qureshi v. Penkhus Motor Co., 15-cv-2337, 2016

WL 5372184, at *1-3 (D. Colo. Sept. 26, 2016); Heaton v. Soc. Fin.,

Inc., 14-CV-5191, 2015 WL 6744525, at *4-5 (N.D. Cal. Nov. 4, 2015);

Traveler v. Glenn Jones Ford Lincoln Mercury 1987, Inc., cv-05-0817,

2006 WL 173687, at *1, 3-5 (D. Ariz. Jan. 24, 2006).

     Each   of   these   cases   involved    business   interactions   either


comparable to, or that had progressed much further than, those at

issue here. In Boone, for instance, the named plaintiff "asked a T-

Mobile employee about available cell phone plans and rates," "did

not sign any agreement, did not agree to any services," and "made

it clear that he did not want his credit report accessed if a ^hard'

credit inquiry would be required" (to which the employee agreed).

Boone, 2018 WL 588927, at *1. T-Mobile conducted a hard inquiry

anyway, and the plaintiff claimed that "T-Mobile has ^routinely and

systematically'     obtained     such    hard   inquiries   on   prospective

customers without a permissible purpose or written consent." Id. The

district court held that the plaintiff had stated a claim under the

FCRA. I^ at *15-16.

     In Qureshi, the plaintiffs authorized the defendant, a car

dealer, to access their credit report. Qureshi, 2016 WL 5372184, at

*2. Six months later, the plaintiffs contacted the dealership about

potentially purchasing a vehicle and proceeded fairly far in the


                                        32
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 33 of 51 PageID# 321



process. Id. at *1. A trade-in appraisal was performed, the car model

of   interest    was   specified,    and     the   parties    discussed   credit

information changes and the need for a down payment. Id. The court

refused to grant the defendant's motion for summary judgment. Id.

at *3-4.^^

      In   Heaton,     the   plaintiffs      navigated   to   a   loan   website,

registered for the website, advanced through several steps, were

shown loan products for which they prequalified, and, after selecting

certain options, had a "hard" credit inquiry performed on them.

Heaton, 2015 WL 6744525, at *1-2. The district court denied the

defendants' motion for summary judgment. Id. at *4-5, 8.

      In Traveler, the plaintiff received an offer for a pre-approved

loan to purchase a           vehicle at the defendant auto dealership.

Traveler, 2006 WL 173687, at *1. She met with a salesman, received

assurances that the dealership would not pull her credit, and left

the dealership when she could not find a vehicle she wanted within

the loan offer amount. Id. The plaintiff asserted that the salesman




   After trial, sitting as finder of fact, the court ultimately
concluded that the dealership had a permissible purpose under 15
U.S.C.     §   1681b(a)(3)(A).    See     Qureshi   v.   Penkhus    Motor   Co.,
15-CV-2337, 2016 WL 6779320, at *4 (D. Colo. Nov. 16, 2016). However,
what is important is that the court denied summary judgment on the
facts laid out above, thus demonstrating that even those facts were
sufficient, legally, to support a claim. And, in any case, the
parties' interactions in Qureshi had progressed to a much more
advanced stage than those alleged here (making Qureshi "a close call"
even on summary judgment). See Qureshi, 2016 WL 5372184, at *3.
                                        33
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 34 of 51 PageID# 322



called several weeks later, that he explained that the loan offer

had been extended, that the plaintiff asked about vehicles within

the loan amount (but ultimately declined the vehicle discussed), and

that the plaintiff agreed that the salesman could continue looking

for a suitable car. Id. The dealership ran the plaintiff's credit

report, and the court concluded that summary judgment for the

defendant was not warranted. Id. at *1, 5.

     Even though the foregoing decisions indicated a need for factual

development on the permissible purpose issues as pleaded therein,

they support a conclusion that mere comparison shopping will, as a

matter of law, support a finding of no permissible purpose under 15

U.S.C. § 1681b(a)(3)(A); the question they generally sought to

resolve was whether the conduct at issue amounted to comparison

shopping or something more. See Boone, 2018 WL 588927, at *15;

Qureshi, 2016 WL 5372184, at *1-3; Heaton, 2015 WL 6744525, at *4;

Traveler, 2006 WL 173687, at *3-5. Such a conclusion is reinforced

by the fact that it is widely held that 15 U.S.C. § 1681b(a)(3)(A)

should be read fairly narrowly. The Seventh Circuit, for example,

has held:


            An entity may rely on subparaqraph (3)(A) only
            if the   consumer initiates the transaction. A
            third party cannot troll for reports, nor can
            it request a report on a whim. Rather, there must
            be a direct link between a consumer's search for
            credit and the bank's credit report request.

See Stergiopoulos & Ivelisse Castro v. First Midwest Bancorp, Inc.,

                                    34
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 35 of 51 PageID# 323



427 F.3d 1043, 1047 (7th Cir. 2005) (emphasis added). The Seventh

Circuit's opinion has been cited broadly, and the view it represents

has been adopted by many courts. See, e.g., Huertas v. Galaxy Asset

Mgmt., 641 F.3d 28, 34 (3d Cir. 2011); Pintos v. Pac. Creditors Ass'n,

565 F.3d 1106, 1113 (9th Cir. 2009), amended by 605 F.3d 665, 670

(9th Cir. 2010); Boone, 2018 WL 588927, at *15; Sheridan v. AFNI,

Inc., 3:14-cv-1251, 2015 WL 506573, at *4 (M.D. Tenn. Feb. 5, 2015);

Bracken, 2014 WL 5527837, at *4-5; Lepelletier v. Fair Oaks Motors,

Inc., l:ll-cv-1268, 2012 WL 7177149, at *1 (E.D. Va. Feb. 24, 2012).

The Ninth Circuit has narrowly interpreted the Seventh Circuit's

view, holding that "[t]he requirement that the consumer initiate the

transaction     is    not    satisfied   simply   because     the    consumer   did

something that arguably led to the creditor's claim," such as owning

a vehicle that has been towed and impounded involuntarily by a

defendant. See Pintos, 565 F.3d at 1110, 1113.

     The Court finds the reasoning in two of the decisions set out

above, Heaton and Boone, to be particularly instructive. First, in

Heaton, the court reasoned:

                     Here, the facts are far from undisputed as
           to whether Plaintiffs' actions on Defendants'
           website constituted a credit transaction, or
           whether          such   action     simply     constituted
          "comparison shopping" behavior, which the [FTC]
           has stated is not enough to rise to the level
           of   a    credit    transaction    under    the   FCRA.   See
           Letter from David Medine to Karen Coffey (Feb.
           11, 1998), 1998 WL 34323748 at *1 (FTC Staff Op.
           Ltr.) (transaction initiated by consumer only

                                         35
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 36 of 51 PageID# 324



            when the consumer "clearly understands that he
            or she is initiating the purchase")

                 Defendants correctly note that this Staff
            Opinion Letter answers a question regarding 15
            U.S.C. § 1681b(a)(3)(F), the "legitimate
            business need" permissible purpose, which is
            not at issue in this case. . . .


                 However, the Court finds this letter
            persuasive, while not binding, for the singular
            purpose of interpreting what Congress meant by
            the phrase "credit transaction" in the statute
            at issue. Notably, the letter uses an example
            where    the    permissible    purpose   is   a   credit
            transaction under 15 U.S.C. § 1681b(a) {3} (A) to
            make its point. Letter from Medine to Coffey,
            1998 WL 34323748 at *2 n.l. Similarly, the Ninth
            Circuit has viewed multiple sections of the FCRA
            together to understand what is required under
            a particular section, in accordance with
            general canons of statutory interpretation.

Heaton, 2015 WL 6744525, at *4 (citations omitted).

       This Court has previously held that FTC Staff Opinion Letters,

such   as   that    cited   by   Heaton,   are "informative" as        to   the

interpretation of the FCRA (albeit not "entitled to the deference

that is owed to a formal Commission Opinion"). Milbourne v. JRK

Residential Am., LLC, 92 F. Supp. 3d 425, 431 (E.D. Va. 2015). And,

the Heaton court's view finds support in the general principles set

out in Sterqiopoulos, 427 F.3d at 1047. Furthermore, both Qureshi

and Traveler implicitly relied upon the 1998 FTC Letter in evaluating

whether a permissible purpose had been established as a matter of




  The Court refers to this Letter as the 1998 FTC Letter,
                                      36
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 37 of 51 PageID# 325



law under 15 U.S.C. § 1681b(a)(3)(A).           Qureshi, 2016 WL 5372184,

at *3; Traveler, 2006 WL 173687, at *3-5. Moreover, the FTC (like

Heaton) has expressly applied the principles set forth in the 1998

FTC Letter to the "credit transaction" context. In a 2011 summary

of its interpretations of the          FCRA,   the   FTC explained in its

commentary to 15 U.S.C. § 1681b(a)(3)(A) that no credit transaction

has occurred where a consumer "simply asks for information about

(products] and prices." See FTC, 40 Years of Experience with the Fair

Credit   Reporting   Act:   An   FTC   Staff    Report   with   Summary   of

Interpretations 45 (2011) [hereinafter FTC, 40 Years of Experience].

Accordingly, the Court adopts the reasoning of the Heaton court and

concludes that comparison shopping behavior will not support a

permissible purpose under 15 U.S.C. § 1681b(a)(3)(A).^^
     Second, in Boone, the court held:

                Section 1681b(a)(3)(A) "requires that the
           entity must be engaged in a credit transaction
           in which the consumer is participating." "An
           entity may rely on [section 1681b(a)(3)(A)]
           only if the consumer initiates the transaction.



  Miller cited the 1998 FTC Letter to support the proposition that
comparison   shopping behavior is insufficient to support a
permissible purpose. See Pl.'s Opp'n *2-3. Dish Network asserts that
the 1998 FTC Letter is not binding. Def. Reply Br. 3. That is true.
But, as set out above and below, the Court finds its guidance
persuasive. And, although Dish Network maintains that there are
"contrary holdings by controlling courts on the same points," it does
not cite any such decisions. See Def.'s Reply Br. 3. Rather, it simply
states "[s]ee, supra" to support its contention. Def.'s Reply Br.
3. Nothing raised "supra" in Dish Network's reply brief, however,
related to any of the principles set out in the 1998 FTC Letter.
                                    37
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 38 of 51 PageID# 326



          A third party cannot troll for reports, nor can
          it request a report on a whim. Rather, there must
          be a direct link between a consumer's search for
          credit and the bank's credit report request."
          T-Mobile did not have a credit account with
          Boone and was not close to extending credit to
          Boone. According to the complaint, Boone was
          essentially window shopping.

                Furthermore,     Boone's   contact    with   T-
           Mobile did not involve the extension of credit
           under the FCRA. The term "credit" is defined in
           the FCRA as it is defined in the Equal Credit
           Opportunity Act, 15 U.S.C. § 1691 et seq.
           {"ECOA"). Thus, "credit" means "the right
           granted by a creditor to a debtor to defer
           payment of debt or to incur debts and defer its
           payment or to purchase property or services and
           defer payment therefor." T-Mobile was not
           extending Boone the right to defer payment on
           a transaction or debt. Boone had not initiated
           a transaction or sought to create a debt; he
           merely asked for price quotes.

                 The Third Circuit has found a "permissible
           purpose" under section 1681b(a)(3)(A) where a
           consumer owes a debt or applies for credit. In
           Huertas v. Citiqroup, Inc., the Court held that
           "[section] 1681b(a)(3)(A) authorizes access to
           a consumer's credit report *when the consumer
           applies for credit[.]'" In Huertas v. Galaxy
           Asset Management, the Court [sic] that a
           creditor had a permissible purpose under
           section 1681b(a)(3)(A) when a consumer sought
           credit, received credit, and accumulated debt.
           The complaint alleges that matters had not gone
           nearly that far. Boone did not apply for credit
           and did not accumulate debt with T-Mobile.

Boone, 2018 WL 588927, at *15 {citations omitted). The Court finds

this analysis compelling, and it therefore adopts Boone's reasoning

in addition to (and in support of) that of Heaton.

     Additionally, the 1998 FTC Letter itself provides guidance that
                                    38
    Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 39 of 51 PageID# 327



directly relates to 15 U.S.C. § 1681b(a)(3)(A). Importantly, the

Letter states:


             For example, a [car] dealer may obtain a report
             [under 15 U.S.C. § 1681b(a)(3)(A)], if one is
              necessary, in order to arrange financing
              requested by the consumer. The dealer may also
             obtain  a   report  to  check   a  consumer's
             creditworthiness when the consumer presents a
              personal check to pay for the vehicle. By
              contrast, a permissible purpose would not arise
              if a consumer intends to pay by cash.

Letter from Medine to Coffey, 1998 WL 34323748, at *2. As explained

above, the Court finds FTC Staff Letters to be informative, and courts

have looked to this Letter for guidance in interpreting 15 U.S.C.

§    1681b(a)(3)(A).      The    FTC   recently   reaffirmed   the    specific

conclusions cited above in its staff interpretation summary. See FTC,

40 Years of Experience 45, 48. Those conclusions also comport with

the principles set forth herein. Hence, the Court relies on them in

evaluating Dish Network's actions.

        Given the foregoing discussion and analysis, this is an easy

case.     Miller   was,   just    like   the   named   plaintiff     in   Boone,

"essentially window shopping," i.e., comparison shopping. See Boone,

2018 WL 588927, at *15. Dish Network "did not have a credit account

with [Miller] and was not close to extending credit to [Miller]."

See id. And, Miller "had not initiated a transaction or sought to

create a debt" and "did not apply for credit and did not accumulate

debt." See id. Miller's interactions with Dish Network were clearly


                                         39
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 40 of 51 PageID# 328



insufficient to support a permissible purpose under 15 U.S.C. §

1681b(a)(3)(A). See, e.g., Boone, 2018 WL 588927, at *15-16; Heaton,

2015 WL 6744525, at *4; FTC, 40 Years of Experience 45. Additionally,

nothing in the First Amended Complaint suggests that Miller proposed

to pay for Dish Network services on credit or with a check. Indeed,

Miller did not apply for or request services at all. In short, the

First Amended Complaint pleads that Dish Network had no permissible

purpose under 15 U.S.C. § 1681b(a)(3)(A) to access Miller's credit

report.

      Furthermore, taking Miller's allegations as true. Dish Network

could not have had a reason to believe that it intended to use Miller's

credit report in connection with a credit transaction involving

Miller    and   the   extension   of    credit   to   him.   See   15   U.S.C. §

1681b(a)(3)(A). As set out above, the "reason to believe" exception

refers to factual, not legal, ambiguity. Nothing in the First Amended

Complaint implies any factual ambiguity as to Miller's interactions

with Dish Network. And, Miller alleges that Dish Network has a common

practice of obtaining credit reports of consumers (such as Miller)

who   merely    ask    about   prices    and     products,   thereby     further

demonstrating that Dish Network did not obtain Miller's credit report

with the reasonable belief that it intended to use the report for




                                        40
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 41 of 51 PageID# 329



a credit transaction purpose. First Am. Compl. *6.^®
     In sum. Miller has sufficiently alleged that Dish Network may

not rely on 15 U.S.C. § 1681b(a)(3)(A) to defeat his claim at the

motion to dismiss stage. Indeed, if Miller's allegations are not



  Dish Network's claims that Miller's allegations demonstrate that
it had a reason to believe that it had a permissible purpose do not
undermine these conclusions. First, as detailed above, the
allegation that Miller "contacted Defendant and inquired about
prices, features, and product availability" offers no support for
Dish Network's position. See Def.'s Br. 10. Second, Dish Network's
certification "to Equifax that it had a permissible purpose" does
not show that Dish Network reasonably believed that it had a
permissible purpose. See Def.'s Br. 10-11. In the vast majority of
cases, the user of a credit report will have certified that it had
a permissible purpose in accordance with 15 U.S.C. § 1681b(f)(2);
the Court still must determine, pursuant to 15 U.S.C. § 1681b{f} (1),
whether the user in fact had a permissible purpose. See 15 U.S.C.
§ 1681b(f). The Court declines to interpret the FCRA as assuming the
infallibility of a user's certification because doing so would gut
the FCRA and render meaningless the requirement under 15 U.S.C. §
1681b(f)(1) that a credit report actually be "obtained for a purpose
for which the consumer report is authorized to be furnished under
this section." S^        § 1681b(f)(l). And, in any case. Miller
expressly alleges that Dish Network, in line with its general
practice, certified that it had a permissible purpose when, in fact,
it did not. First Am. Compl. *4, 6-7.

     Furthermore, it may well be true, as Dish Network contends, that
users of credit reports do not need "permission" to obtain them, that
it is insufficient for a plaintiff to allege that he never sought
to acquire services from the defendant, and that a plaintiff does
not need to have direct dealings with a defendant for it to obtain
a credit report lawfully. See Def.'s Br. 9-10. However, some action
must give rise to a permissible purpose, and here Miller alleges that
his only connection with Dish Network was to engage in comparison
shopping behavior. That is not enough to allow a finding of
permissible purpose. None of the cases Dish Network cites to bolster
its view hold to the contrary. See Glanton, 172 F. Supp. 3d at 895-96;
Gibbons v. GC Servs. LLC, 5:13-cv-84, 2013 WL 5371620, at *2 (E.D.N.C.
Sept. 24, 2013); Wells v. Craiq & Landreth Cars, Inc., 3:10-cv-376,
2011 WL 1542121, at *2-4 (W.D. Ky. Apr. 22, 2011).
                                    41
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 42 of 51 PageID# 330



rebutted, they are sufficient to support a finding that, as a matter

of law, Dish Network had no permissible purpose for accessing his

credit report under 15 U.S.C. § 1681b(a)(3)(A).

                           c.     15 U.S.C. § 1681b(a)(3){F>(i)

      The analysis of the permissible purpose under 15 U.S.C. §

1681b(a)(3)(F)(i) is similar to that of the "credit transaction"

permissible      purpose.       As   explained,     Miller   alleges      that   his

interactions with Dish Network simply involved comparison shopping

behavior and that Dish Network ran his credit report {in accordance

with its normal practice). The question is whether this comes within

the   ambit    of   15   U.S.C.      §   1681b (a)(3)(F)(i),      which   creates   a

permissible purpose where a user has reason to believe that it

"otherwise has a legitimate business need for the [credit report]

information . . . in connection with a business transaction that is

initiated by the consumer." See 15 U.S.C. § 1681b(a)(3)(F)(i).

      The same decisions that show that mere comparison shopping

behavior cannot establish a permissible purpose under the "credit

transaction" provision likewise demonstrate that such conduct cannot

prove    a    permissible       purpose    under   the "business      transaction"

provision. See Boone, 2018 WL 588927, at *14-15; Qureshi, 2016 WL

5372184, at *1-3; Traveler, 2006 WL 173687, at *1, 3-5; see also

Heaton, 2015 WL 6744525, at *4 (relying on the 1998 FTC Letter, which

mainly       established    principles          applicable   to     the   "business


                                           42
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 43 of 51 PageID# 331



transaction"   permissible     purpose,    to   interpret    the   "credit

transaction" provision). And, in any event, each of these cases

involved business interactions similar to, or much more advanced

than, those at issue here.^®

     There seem to be fewer generalized judicial interpretations of

the "business transaction" provision that are relevant here. All that

the Fourth Circuit has had to say on the subject is that "[t]he terms

^legitimate business need' and *in connection with' refer to the

needs and objections of the individual to whom the report is

furnished, not the needs of the person about whom the report is

furnished." Korotki, 1997 WL 753322, at *2. But, that does not affect

the question of whether comparison shopping behavior is sufficient

to establish a legitimate business need in connection with a

transaction initiated by the consumer.

     Nevertheless, there is one non-judicial interpretation of 15

U.S.C. § 1681b{a)(3)(F)(i) more closely related to the context at

issue here that is instructive and persuasive. In the 1998 FTC Letter

referenced above, the FTC staff reasoned:

                [15 U.S.C. § 1681b(a)(3)(F)(i)] permits



  The Qureshi court also ruled, after trial, that the defendant had
a permissible purpose under 15 U.S.C. § 1681b(a)(3)(F)(i). Qureshi,
2016 WL 6779320, at *5. But, again, the court found that the facts
at the summary judgment stage were legally sufficient to support the
plaintiffs' claim. And, as noted above, the parties in Qureshi had
engaged in much more significant interactions than the parties in
this case.
                                    43
Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 44 of 51 PageID# 332



         CRAs to provide consumer reports to any party
         who has a ^legitimate business need for the
         information     in   connection     with      a   business
         transaction that is initiated by the consumer."
         You ask whether this provision allows a dealer
         to obtain a consumer report on a person who
         'comes to an automobile dealership and requests
         information" from a salesman about one or more
         automobiles. In our view it does not, because
         a  request for    general information about
         products and prices offered does not involve a
         business transaction initiated by the consumer.

                More   generally,   you    ask    "when     is   the
         beginning of a business transaction" initiated
         by the consumer? In responding to this question,
         it is important to note that [15 U.S.C. §
         1681b(a)(3)(F)(i)] limits this "business need"
         permissible purpose to transactions (i) that
         are "initiated" by the consumer and (ii) where
         the seller has a "legitimate business need" for
         the information. The staff's view is that an
         automobile dealer may obtain a report only in
         those    circumstances     in    which    the     consumer
          clearly understands that he or she is initiating
          the purchase or lease of a vehicle and the seller
          has a legitimate business need for the consumer
          report information in order to complete the
          transaction.


               For example, a consumer who asks a dealer
          questions about prices and financing is not
          necessarily indicating an intent to purchase or
          lease a vehicle from that particular dealer. Nor
          does the dealer have a "legitimate" business
          need for a consumer report in this situation.
          The    consumer     may   simply        be   comparison
          shopping. . . .

                 Only in those circumstances where it is
          clear both to the consumer and to the dealer that
          the consumer is actually initiating the
          purchase or lease of a specific vehicle and, in
          addition, the dealer has a legitimate business
          need for consumer report information may the
          dealer   obtain  a   report   without   written

                                    44
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 45 of 51 PageID# 333



          permission. In this regard, we note that
          obtaining information for negotiation purposes
          does not constitute a "legitimate" business
          need. The dealer must have a specific need for
          the information     directly related to the
          completion of the transaction. For example, a
          dealer may obtain a report, if one is necessary,
          in order to arrange financing requested by the
          consumer. The dealer may also obtain a report
          to check a consumer's creditworthiness when the
           consumer presents a personal check to pay for
           the vehicle. By contrast, a permissible purpose
           would not arise if a consumer intends to pay by
           cash.


Letter from Medine to Coffey, 1998 WL 34323748, at *1-2 (emphasis

added). The guidance of FTC Letters on the FCRA is informative.

Furthermore, each of the decisions noted above that shows that

comparison shopping will not support a permissible purpose under 15

U.S.C. § 1681b(a)(3)(F)(i) relied on the 1998 FTC Letter. See Boone,

2018 WL 588927, at *14-15; Qureshi, 2016 WL 5372184, at *3; Traveler,

2006 WL 173687, at *4-5; see also Heaton, 2015 WL 6744525, at *4.

And, again, the FTC reaffirmed the above principles in 2011. See FTC,

40 Years of Experience 48. Consequently, the Court finds the FTC's

guidance to be persuasive and adopts it here.

     In applying those principles, the Court deems Boone to be

precisely on point and instructive:

                   The first alleged permissible purpose is
           that     T-Mobile    obtained       the   report   "in
           connection    with   a   business   transaction    that
           [was] initiated by the consumer" and for a
           "legitimate business need." The complaint does
           not establish, however, that Boone initiated a
           business transaction. Rather, Boone alleges

                                      45
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 46 of 51 PageID# 334



          that he made a ^'general inquiry about the
          availability of cell phone plans and rates,"
          made it clear that he did not want his consumer
          report to be accessed if a hard credit inquiry
          was required, "did not initiate a transaction,"
          and "never signed any agreement and never agreed
          to any services from [T-Mobile]    Those actions
          do       not      amount            to         a         "business
          transaction . . . initiated by the consumer."
          The [FTC] agrees. "[A] request for general
          information about products and prices offered
          does     not   involve     a        business        transaction
          initiated by the consumer." For instance, a
          consumer who asks a car dealer to "test drive"
          a car, or asks questions about pricing and
          financing, "is not necessarily indicating an
          intent to purchase or lease a vehicle from that
          particular dealer." Conducting a hard credit
          inquiry is therefore inappropriate at this
          stage.

                 Moreover,    T-Mobile             did       not    have    a
          "legitimate business need" to obtain Boone's
          credit report. He asked only about prices and
           financing. According to the FTC:

                 Only in those circumstances where it is
           clear both to the consumer and to the dealer that
           the   consumer    is    actually              initiating        the
           purchase or lease of a specific vehicle and, in
           addition, the dealer has a legitimate business
           need for consumer report information may the
           dealer  obtain      a     report          without         written
           permission.

                 Such    circumstances             were      not     present
           according to Boone's allegations. . . .

Boone, 2018 WL 588927, at *14-15 (citations omitted).

     Here, as in Boone, the First Amended Complaint "alleges that

[Miller] made a 'general inquiry about the availability of [Dish

Network] plans and rates,' made it clear that he did not want his


                                         46
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 47 of 51 PageID# 335



consumer report to be accessed if a hard credit inquiry was required,

Mid not initiate a transaction,' and Mever signed any agreement

and never agreed to any services from [Dish Network].'" See Boone,

2018 WL 588927, at *14 (citations omitted). And, the allegations in

First Amended Complaint indicate that it was not "clear both to

[Miller] and to [Dish Network] that [Miller was] actually initiating

the purchase [of a specific product] and, in addition, [that Dish

Network had] a legitimate business need for [the] consumer report

information." See id. at *14-15 (citations omitted)          Dish Network

therefore   had   no    permissible      purpose   under   15   U.S.C.    §

1681b(a)(3)(F)(i).

     Additionally, nothing in the First Amended Complaint suggests

that Dish Network could have had a reasonable belief that it had a

permissible purpose under the business transaction provision. That

is because, as explained above, nothing in the First Amended

Complaint implies any factual ambiguity as to the interactions

between Dish Network and Miller. And, it was Dish Network's general

practice to obtain credit reports of people in Miller's position

(thereby further showing that it did not have a reasonable belief



  Courts have found that "a company has a ^legitimate business need'
when it assesses a consumer's eligibility for a business service."
See, e.g., Bickley v. Dish Network, LLC, 751 F.3d 724, 731 (6th Cir.
2014). However, even assuming that Dish Network was evaluating
Miller's eligibility for services, there must have been a business
transaction initiated by Miller. See id. at 732. There was no such
transaction here.
                                    47
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 48 of 51 PageID# 336



that    the   credit information   would   be   used   in   connection   with   a


business transaction initiated by Miller). See First Am. Compl.

*5-7.


        For the foregoing reasons. Miller has sufficiently alleged that

Dish Network lacked a permissible purpose (or reasonable belief

thereof) under 15 U.S.C, § 1681b(a)(3)(F)(i). And, if Dish Network

cannot counter Miller's allegations, they permit a finding that, as

a matter of law. Dish Network had no permissible purpose under 15

U.S.C. § 1681b(a)(3)(F)(i).

                   ill. The Other Elements of the 15 U.S.C. § 1681b(f)
                        Claim


        Dish Network raises no argument that Miller has failed to

satisfy the other elements of a claim under 15 U.S.C. § 1681b(f).

Because it is undisputed that Miller's First Amended Complaint meets

those elements, the Court does not address them.^^ Dish Network's
motion to dismiss as to the 15 U.S.C. § 1681b (f) claim will be denied.

        C.    The 15 U.S.C. § 1681n(b} Claim

        Dish Network also asserts that Miller failed to state a claim

under 15 U.S.C. § 1681n(b). See Def.'s Br. 11. It is clear that 15

U.S.C. § 1681n(b) only provides a cause of action to credit reporting




  As to damages (which Dish Network only raises as part of its Fed.
R. Civ. P. 12(b)(1) arguments). Miller has alleged harm in the form
of emotional distress. That is cognizable as actual damages under
the FCRA. See, e.g., Robinson, 560 F.3d at 239; Freedom Plus/Cross
River, 2018 WL 770384, at *6.
                                     48
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 49 of 51 PageID# 337



agencies. See 15 U.S.C. § 1681n{b). Miller concedes that he is not

pursuing an individual claim under that provision. Pl.'s Opp'n *16.

Thus, there is no need further to address that aspect of Dish

Network's motion.    The motion will be granted as to this issue.


Ill. Concluding Comments & Instructions to Miller

     After reviewing Miller's papers in relation to Dish Network's

motion, there are several matters that the Court deems it necessary

to address, particularly given Miller's pro se status.

     First,   Miller's   First Amended     Complaint is difficult       to

interpret. Miller presents his claims using a "kitchen sink" approach

that does not clearly delineate the theories of liability he is

actually presenting.     Accordingly, and in the interests of clarity

and judicial economy as this litigation proceeds, Miller is
instructed to submit a Second Amended Complaint that clarifies the

claims he is actually asserting and organizes those claims into

specified "Counts." He is further instructed to omit references to

facts, statutes, or other materials that do not form the basis of




  Miller suggests in his Opposition that he would like the Court to
refer Dish Network to the proper authorities for its violations of
15 U.S.C. § 1681n{b). That does not precisely align with the language
of the First Amended Complaint. See First Am. Compl. *10. To the
extent that Miller seeks such relief under 15 U.S.C. § 1681n(b), he
has no standing to do so (as explained above).

  The Court does not pass upon whether Miller has stated any claims
under theories other than those addressed in this Opinion.
                                    49
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 50 of 51 PageID# 338



his claims.


     Second,   the   Court   observes    that   Miller   has   attempted   to

incorporate by reference his Bill of Particulars (EOF No. 1-3) into

his First Trended Complaint. First Am. Compl. *1. The Court by

MEMORANDUM ORDER (EOF No. 17) required Miller to replead his claims

pursuant to Fed. R. Civ. P. 81(c)(2). The Court considers it to be

procedurally improper for an amended complaint to incorporate by

reference a previous complaint that is no longer operative. And, in

any case, such incorporation by reference can lead to substantial

ambiguity as to what claims and allegations remain active. Therefore,

Miller is instructed      not to incorporate      by reference      previous

complaints (including the Bill of Particulars) into any future

complaints filed in this action. Miller must directly insert into

any new complaints all content from previous complaints that he would

like the Court to review.^''

     Third,    Miller   attempted   to   incorporate     by    reference   his

Opposition to Dish Network's first motion to dismiss (which was

denied as moot by MEMORANDUM ORDER (ECF No. 17)) into his Opposition

to the motion to dismiss at issue here. See Pl.'s Opp'n *4. That is

procedurally improper, and Miller is instructed not to incorporate

by reference previous papers into his briefs in the future.




  However, Miller may, of course, attach and incorporate by reference
relevant evidentiary documents.
                                    50
 Case 3:17-cv-00432-REP Document 25 Filed 08/01/18 Page 51 of 51 PageID# 339



                               CONCLUSION


     For the foregoing reasons. Dish Network's MOTION TO DISMISS (EOF

No. 20) will be granted in part and denied in part. It will be granted

with respect to any request for relief that the Court refer Dish

Network to the appropriate authorities. It will also be granted as

to any claim raised pursuant to 15 U.S.C. § 1681n(b). The motion will

be otherwise denied.


     It is so ORDERED.



                                                   /s/    [ILP
                                  Robert E. Payne
                                  Senior United States District Judge



Richmond, Virginia
Date: July    , 2018




                                    51
